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Name of Attorney Wayne A. Silver
Bar # CA 108135

Address 333 W, El Camino Real, Suite 310
Sunnyvale, CA 94087
Phone # (408) 720-7007

e-mail address w siver@sbeglobal.net

 

UNITED STATES BANKRUPTCY COURT

 

 

DISTRICT OF NEVADA
wok ok ok OK
)
In re: ) Bankruptcy No.; BK-N-14-50333-B pg
- 14
ANTHONY THOMAS and WENDI THOMAS; Chapter ————
AT EMERALD, LLC, )
} DESIGNATION OF LOCAL
[Jointly Administered] } COUNSEL AND CONSENT
) THERETO
)
Debtor(s). )
)
)
The undersigned, attorney of record for KENMARK-TLC Kon marle Vann erry Lec
, the creditor herein, has submitted to the Court a "Verified Petition

 

for Permission to Practice in this Case Only", Not being admitted to the bar of this Court, and
not maintaining an office in the District of Nevada for the practice of law, (s)he believes

it to be in the best interests of the client(s) to designate Amy N. Tirre

 

attorney at law, member of the State Bar of Nevada and previously admitted to practice
before the above-entitled Court, as associate local counsel in this action. The address of

said designated Nevada Counsel is:
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Bar No.: 6523, Address: 3715 Lakeside Dr., Suite "A", Reno, NV 89509

 

Tel.: (775) 828-0909 Email: amy@amytirrelaw.com

 

(Bar Code #, Street, City, State, Zip Code, Telephone Number and e-mail address)

By this designation the undersigned attorneys and party(ies) agree that all documents
and other papers issued out of this Court in the above-entitled case may be served on the
designated local counsel. Further, said local counsel shall be responsible for providing
copies of the same to the co-counsel. Further, this designation constitutes agreement and
authorization by the undersigned for the designated local counsel to sign stipulations

binding on all of us. The time for performing any act under applicable Rule,shall run from

Is/ Bi
PEON
Counsel for KENMARK, LLG

CONSENT OF DESIGNATED NEVADA COUNSEL

the date of service on the local counsel.

 
 
  

The undersigned hereby consents to serve as associate Nevada counsel in this case and
agrees that (s)he is responsible for being counsel upon whom all documents and other
papers issued out of this Court shall be served, and that (s)he is responsible to transmit

copies of all documents and other papers so served to the admitted out-of-state counsel of

record and to keep such counsel informed as to the status of the.ca

Designated'evada Counsel

 

 

 
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APPOINTMENT OF DESIGNATED NEVADA COUNSEL

The undersigned party(ies) appoint(s)_“™Y N- Tirre

Designated Nevada Counsel is this case.

Deslocalcounsel.wpd = rev, 4/12/07

as his/her/their

KENMARK, Le@- Vershawes, ELS

 

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Mamagins Mem bey”
